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                        UN ITED STA TES DISTRICT CO UR T
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                                D ISTRIC T O F N E FW D ,I
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 7                                          -00 0-
 8 UNITED STATES OF AM ERICA,                  )
                                               )
 9                      Plaintiff,             ) CaseNo.2:11-cr-31I-GM N-VCF
                                               )
10 vs.                                         )
                                               )            9 E 9 :E
11 DARREN LEE DILLINGHAM ,                     )
                                               )
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13
                        Defendant.             )
                                               )
14
15         The Courq having review ed the pleadings of counseland, on M arch l3,2012,

16 havingconductedahearinginrelationtoDefendant'si'MotiontoCompelMarshalsto                    !
17 ProduceAllEvidenceandReportsPertainingtoUseofForcelncident''tiledbyDarrenLee                i
                                                                                               t
1: Dillingham (Docket#321,                                                                     I
                                                                                               1
19         IT Is H EREBY O RD ER ED TH AT :                                                    i
                                                                                               I
20         CCA shallproduceforthw ith toA ssistantU nited StatesAttorney Bradley W . G iles,   '

21 any and allreports,com m unicationsand findings in relation a Decem ber23,2011 use of
22 force incidentinvolving D efendantD arren Lee Dillingham ata CCA facility in Pahrum p,
23 N evada. Recordsto beproduccd include a11w ritten and clectronically stored reportsand
24 comm unications(to include e-m ailcommunications)aswellasany video and/oraudio
25 recordingsrelated to thatevent.
26
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l    1          IT IS FURTH ER O RDERED thatupon receiving the docum entation from CCA
1
.                                                                                               ,
     2 AU SA Giles shall produce those docum ents to this Court for an in-cam era review .
     3 Following thatreview ,m aterialspertinentto the above-captioned crim inalcase w illbe
     4 m ade availablc to counsel.

     5          ITISFURTHER ORDERED thatanyandallmaterialsreleasedbytheCourt
     6 following the in cam era review shallbc used only for purposes related to the above-
(
'    7 captioned crim inalm atter.
     8
                              /r                     c
     9          Datedthis /J dayof          .'f--
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                                                   , ,2012.
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